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                                  United States District Court
                                   Western District of Texas
                                       Austin Division

United States of America,
       Plaintiff,

         v.                                                  No. A-23-CR-135-RP

Saint Jovite Youngblood,
        Defendant.


                    United States’ Witness List for Sentencing Hearing

   No.                                        Witness Name
    1         Lindsey Wilkinson
    2         Glen Morehead
    3         Dale Snider




                                              Respectfully submitted,

                                              Jaime Esparza
                                              United States Attorney

                                              /s/ Daniel D. Guess
                                              Daniel D. Guess
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of December 2024, a true and correct copy of the

foregoing instrument was electronically filed with the Clerk of the Court using the CM/ECF

System which will transmit notification of such filing to the following CM/ECF participants:


Jeff Senter
Attorney at Law
501 Congress Avenue, Suite 150
Austin, TX 78701-3375




                                               By:      /s/ Daniel D. Guess
                                                     Daniel D. Guess
                                                     Assistant United States Attorney
